  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 1 of 11 PageID #:1696




                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 JOHN GALVAN,                                      )   Case No.: 1:23-cv-03158
                                                   )   Hon. Matthew F. Kennelly
              Plaintiff,                           )   Magistrate Judge Kim
                                                   )
              v.                                   )
                                                   )   Coordinated for Pre-trial Proceedings with
 VICTOR SWITSKI, et al.                            )   Nañez v. Switski, et al., 23 CV 3162
                                                   )   Almendarez v. Siwtski, et al., 23 CV 3165
              Defendants.                          )



             PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
              MOTION ON WAIVER OF ATTORNEY-CLIENT PRIVILEGE

       Plaintiffs John Galvan, Arthur Almendarez, and Francisco Nañez, by and through their

attorneys, Loevy & Loevy, respectfully submit the following response to City Employee

Defendants’ (“Defendants”) motion to find Plaintiffs waived attorney-client privilege with their

former attorneys on certain topics. In support, Plaintiffs state as follows:

                                        INTRODUCTION

       Defendants’ motion should be denied as it is premised on an overly broad interpretation of

the scope of waiver of the attorney client privilege in a subsequent civil proceeding where a

defendant has previously asserted an ineffective assistance of counsel (“IAC”) claim during post-

conviction proceedings. Plaintiffs do not dispute that when an actual communication has been

disclosed or put at issue in an IAC claim, there has been a waiver to that communication. Indeed,

that is why Plaintiffs agree that certain communications with their criminal defense attorneys were

waived, such as Plaintiff Almendarez’s communications with his criminal and appellate counsel

related to calling Frank Partida as a witness at his criminal trial. But, Defendants’ motion seeks to

broaden and expand the scope of waiver to any general topic raised in an IAC petition even where
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 2 of 11 PageID #:1697




no particular communication is at issue, but rather, may only involve, for example, the attorneys’

strategic decision. This is an overly broad interpretation of the law, and indeed, Plaintiffs’ position

adheres to the court’s analysis in Patrick v. City of Chicago, 154 F. Supp. 3d 705 (N.D. Ill. 2015),

which addressed this issue in another wrongful conviction case. As set forth below, the Court

should deny Defendants’ motion.

                             RELEVANT BACKGROUND FACTS

       Plaintiffs John Galvan, Arthur Almendarez, and Francisco Nañez (“Plaintiffs”) allege that

they were wrongfully convicted of murders they did not commit. They further allege that

Defendants caused these wrongful convictions by coercing two witnesses into falsely identifying

the Plaintiffs, and by manipulating each Plaintiff into falsely confessing to the murders through

physical and psychological torture. All three Plaintiffs, and one of the witnesses, immediately

recanted these false statements, telling their loved ones, and, in some cases, the respective courts,

about how Defendants abused and tortured them into false statements. Nevertheless, each Plaintiff

was convicted and sentenced to life in prison. They spent the next three decades fighting to prove

their innocence. In so doing, the Plaintiffs submitted multiple post-conviction petitions asserting

several grounds to overturn their convictions, including claims that they did not have effective

assistance of counsel. Plaintiffs were ultimately exonerated in 2022, on grounds unrelated to their

trial counsel’s representation, and filed their Section 1983 lawsuits less than a year later.

       Through a largely successful and lengthy meet-and-confer process, Plaintiffs and

Defendants have mostly reached agreement on the scope of any waiver of attorney-client privilege.

Plaintiffs have agreed that where communications with counsel were expressly disclosed or put at

issue in a post-conviction pleading (such as by attaching a letter between client and counsel or

attesting to a communication in an affidavit), then waiver exists in this civil action. Exhibit 1



                                                  2
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 3 of 11 PageID #:1698




(Group Exhibit) at 1C (October 30, 2023 Email); 1G (May 14, 2024 Rule 37.2 Letter); 1J (June

24, 2024 Email). For the seven categories of communications that remain, dkt. 131 at 2, Plaintiffs’

IAC claims did not disclose or put at issue any communications with counsel but rather dealt with

their criminal and/or appellate counsels’ strategic decisions (or lack of strategic decisions).

Accordingly, the attorneys’ mental processes only are at issue—not any communication between

counsel and Plaintiff. That is why Defendants’ assertion of a broad waiver is incorrect and this

Court should deny the motion.

                                           ARGUMENT

   I.      Attorney Client Privilege Extends to Communications Unless Waived Expressly
           or By Implication

        “The attorney-client privilege is one of the oldest recognized privileges for confidential

communications[.]” Swidler & Berlin v. United States, 524 U.S. 399, 403 (1998) (citing Upjohn

Co. v. United States, 449 U.S. 383, 389 (1981)); Hunt v. Blackburn, 128 U.S. 464, 470 (1888)). Its

purpose is “to encourage full and frank communication between attorneys and their clients and

thereby promote broader public interests in the observance of law and administration of justice....”

Upjohn Co., 449 U.S. at 389. Still, like any other privilege, it may be waived.

        Waiver of the attorney-client privilege can be either express or implied. Pyramid Controls,

Inc. v. Siemens Indus. Automations, Inc., 176 F.R.D. 269, 272 (N.D. Ill. 1997). Express waiver

occurs when a party discloses an otherwise privileged communication with their attorney. Garcia

v. Zenith Elecs. Corp., 58 F.3d 1171, 1175 n.1 (7th Cir. 1995). Implied waiver generally occurs

when “a client asserts claims or defenses that put his or her attorney’s advice ‘at issue’ in the

litigation.” Guster-Hines v. McDonald's USA, LLC, 2024 WL 942540, at *6 (N.D. Ill. Mar. 5,

2024) (quoting CSI Worldwide, LLC v. TRUMPF, Inc., 2023 WL 5830788, at *5 (N.D. Ill. Sept.

8, 2023)). But, “[t]he ‘at issue’ waiver doctrine is limited and ‘should not be used to eviscerate the

                                                  3
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 4 of 11 PageID #:1699




attorney-client privilege.’” Cage v. Harper, 2019 WL 6911967, at *1 (N.D. Ill. Dec. 19, 2019)

(citing Silverman v. Motorola, Inc., 2010 WL 2697599 at *4 (N.D. Ill. July 27, 2010); see also LG

Electronics v. Whirlpool Corp., 2009 WL 3294802 (N.D. Ill. 2009)). Merely asserting a claim or

defense to which attorney-client communications are relevant, without more, does not constitute a

waiver of attorney-client privilege. Cage, 2019 WL 6911967, at *1. The privileged party must

affirmatively put at issue the specific communication to which the privilege attaches before the

privilege will be deemed waived. Id.; United States v. Capital Tax Corp., 04 CV 4138, 2011 WL

1399258 (N.D. Ill. 2011); Beneficial Franchise Co., Inc. v. Bank One, N.A., 205 F.R.D. 212, 216

(N.D. Ill. 2001).

       Implied waiver of the attorney-client privilege occurs “where a party voluntarily injects

either a factual or legal issue into the case, the truthful resolution of which requires an examination

of the confidential communications.” Pyramid, 176 F.R.D. at 272 (N.D. Ill. 1997). The implied

waiver doctrine ultimately is based on considerations of fairness: that is, a party may not use

privilege as a tool for manipulation of the truth-seeking process. Patrick, 154 F. Supp. 3d at 711

(quoting Bittaker v. Woodford, 331 F.3d 715, 719 (9th Cir. 2003).); see also, e.g., United States

v. Palivos, 2010 WL 3190714, at *7 (N.D. Ill. Aug. 12, 2010) (”the court grants the motion to find

the attorney-client privilege waived as to conversations between Breen and Palivos insofar as those

communications are necessary to litigation of the ineffective assistance claim” and not

otherwise); McCullough v. Hanley, 2019 WL 3776962, at *12 (N.D. Ill. Aug. 12, 2019) (“When

a privilege holding party will not or does not use the disclosed information affirmatively to

influence a decisionmaker, no subject-matter waiver is found because unfairness is lacking.”).




                                                  4
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 5 of 11 PageID #:1700




   II.      Plaintiffs Did Not Waive Privilege over the Seven Topics at Issue Merely by
            Asserting Claims of Ineffective Assistance of Counsel in their Post-Conviction
            Petitions as They Did Not Put Specific Communications at Issue

         Defendants argue that Plaintiffs waived attorney client privilege over the seven identified

topics because Plaintiffs included the topic as a reason their trial and appellate counsel were

ineffective. Defendants are mistaken that simply listing a topic in an IAC claim without more will

automatically result in waiver of the attorney client privilege. Actual conversations must be

disclosed or at issue in order for waiver to apply. See Patrick, 154 F. Supp. 3d at 715 (explaining

that “[t]he conversations Plaintiff voluntarily disclosed in the [state court] Petition are not

privileged pursuant to Federal Rule of Evidence 502” in subsequent federal court litigation); see

also Cage, 2019 WL 6911967, at *2 (“[A]t issue waiver occurs when a party ‘affirmatively put[s]

at issue the specific communication, document, or information to which the privilege attached”)

(quoting Dexia Credit Local v. Rogan, 231 F.R.D. 268, 275 (N.D. Ill. 2004)).

         In their post-conviction proceedings, Plaintiffs disclosed certain specific communications

they had with their then-attorneys over subjects discussed in their ineffective assistance of counsel

claims. When they did so, they waived the privilege. But if there are not specific communications

disclosed or put at issue in an IAC claim, there should be no waiver. This limit on the scope of

waiver in the IAC context makes sense given the importance of maintaining confidentiality over

counsels’ communication with clients, particularly in the criminal defense context. It should not

extend, as Defendants contend, to any topic or issue raised in an IAC claim, as many deal only

with an attorneys’ mental process and do not relate to any privileged communications at all. The

Court should deny Defendants’ attempt to find waiver over Topics 1-7.

         Here, Plaintiffs brought ineffective assistance of counsel claims in their post-conviction

proceedings which, among other things, raised their prior counsel’s failure to: competently use



                                                  5
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 6 of 11 PageID #:1701




evidence related to an alternate suspect (all Plaintiffs); interview and call friendly witness Frank

Partida (Plaintiff Galvan); and failure to call alibi witness Eva Nañez (Plaintiff Almendarez).

However, unlike in Patrick, the Plaintiffs did not refer to or place any specific communications at

issue or disclose any communications in their briefing or testimony related to these subjects.

Patrick, 154 F. Supp. 3d at 709 (Patrick attached a letter to his appellate counsel describing his

trial counsel’s communications with him about testifying at his trial and also attached an affidavit

describing his communication with trial counsel about alibi witnesses). That is for good reason.

Plaintiffs’ former counsel’s alleged failures did not so much have to do with their advice,

conversations they had with Plaintiffs, or knowledge of the facts. Instead, the decisions not to call

certain witnesses or use evidence were strategic calls – which Plaintiffs alleged were not sound

strategic choices. See Strickland v. Washington, 466 U.S. 668, 689 (1984). Regardless, the content

of any communications were not “necessary to litigation of the ineffective assistance claim,”

Palivos, 2010 WL 3190714, at *7, and they certainly do not indicate a broad waiver to be applied

in a separate civil rights case.

        “Courts in this District have emphasized that ‘subject matter waiver is reserved for rare

cases in which a party attempts to use privileged information as both a sword and a shield in

litigation.’” Jokich v. Rush Univ. Med. Ctr., 2020 WL 1548955, at *3 (N.D. Ill. Apr. 1,

2020)(quoting McCullough, 2019 WL 3776962, at *12 (N.D. Ill. Aug. 12, 2019)); see also Patrick,

154 F. Supp. 3d at 715–16 (“[S]ubject matter waiver generally occurs only where the party holding

the privilege seeks to gain some strategic advantage by disclosing favorable, privileged

information, while holding back that which is unfavorable.”) (emphasis added). That is not what

Plaintiffs are doing here. Plaintiffs seek to preserve their communications with former counsel

regarding topics that are not directly at issue in their civil rights cases. Defendants argue that these



                                                   6
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 7 of 11 PageID #:1702




topics are related to Plaintiffs’ claims of innocence, which Defendants are sure to dispute by saying

that Plaintiffs were, in fact, guilty. However, “Defendants can seek to establish through non-

privileged communications and actions [this] [] defense[]; nothing about th[is] defense[] mandates

that advice of counsel be used to prove [it].” Cage, 2019 WL 6911967, at *2. In other words,

Defendants should not be able to pierce the privilege to embark on a fishing expedition to bolster

their case.

           Ultimately, Patrick stands for the proposition that attorney-client communications

disclosed during the court of post-conviction proceedings results in a waiver in a future civil rights

case. Plaintiff has agreed and faithfully applied Patrick and disclosed communications where there

is waiver. See Exhibits 1G and 1J. And Plaintiffs will continue to agree to allow questioning where

communications were placed at issue and disclosed during the post-conviction process. But, under

Patrick and Cage and other case law, that is the limit of the implied waiver here, and the

Defendants’ attempt to apply a blanket waiver of the attorney-client privilege should be denied.

    III.      Plaintiffs Did Not Waive Privilege over the Topics 1, 3, 4, 5, and 7 above by
              asserting a Brady Claim in this litigation

           Similarly, Plaintiffs maintain that they did not implicitly waive communications with their

trial and appellate attorneys about Topics 1, 3, 4, 5, and 7 by bringing Brady claims. Bringing

a Brady claim does not “per force constitute[] a waiver of the attorney-client privilege.” Jackson

v. Chicago, 2006 WL 2224052, at *7 (N.D. Ill. Jul. 31, 2006). However, “waiver may occur if the

plaintiff places ‘the extent of [his] and his counsels’ knowledge of information withheld during

the initial criminal trial at issue.” Cannon v. Polk County/Polk County Sheriff, 2013 WL 1840343,

at *3 (D.Or. Apr. 30, 2013) (quoting Jackson, 2006 WL 2224052, at *7).

           Plaintiffs’ fabrication and suppression allegations do not put their communications with

their criminal trial and appellate attorneys at issue. Plaintiffs allege that the Defendants caused

                                                    7
     Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 8 of 11 PageID #:1703




their wrongful convictions by, among other misconduct, coercing two witnesses into falsely

identifying each of the Plaintiffs, coercing the Plaintiffs themselves into confessing to murders

they did not commit, and suppressing evidence of Defendants’ coercion of both the witnesses and

Plaintiffs. See Dkt. 1 (Galvan Complaint) at ¶¶ 29-73. 1 The resolution of whether Defendants

fabricated and withheld this evidence does not require examining Plaintiffs’ communications with

their criminal trial and appellate attorneys about how evidence of an eyewitness, alternate suspect,

or Plaintiff Almendarez’s alibi could have been best utilized in their criminal trials and appeals.

         Taylor v. City of Chicago, 2015 WL 5611192 (N.D. Ill. Sept. 22, 2015), supports Plaintiffs’

position. There, the court held that by virtue of bringing Brady claims, the plaintiff had implicitly

waived the attorney-client privilege as to certain communications which bore on the Brady claims.

Id. at *3-*7. Specifically, the plaintiff, Taylor, alleged that the defendants withheld exculpatory

information that (1) Taylor was beaten into confessing to two murders and (2) the defendants had

identified an alibi witness who allegedly confirmed Taylor could not have committed the murders.

Id. at *1. Because Taylor’s Brady claims were based specifically on whether his attorney knew

about his treatment in police custody and facts pertaining to the alibi witness, Taylor had placed

at issue the conversations he had with his attorney on these topics. Id. at *3-*7. Indeed, to the

extent that Taylor applies here, Plaintiffs have agreed that they waived their attorney client

privilege with respect to any conversations they had with their trial counsel about their

interrogations and Defendants’ treatment of them during their interrogations. See Exhibit 1G at 2-

3.

         By contrast, Plaintiffs’ fabrication and Brady allegations are not based on what they and

their attorneys knew about eyewitness Frank Partida, alternate suspect Lisa Velez, or Plaintiff



1
         Plaintiffs Nañez and Almendarez make similar allegations in their respective complaints.
                                                    8
  Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 9 of 11 PageID #:1704




Almendarez’s alibi witness Eva Nañez—they are based on whether the Defendants coerced false

testimony from witnesses and false confessions from the Plaintiffs and whether or not that

information was hidden from the prosecutor and defense. Even if one were to consider Plaintiffs’

Brady claims based on the same misconduct, the pertinent information is whether they and their

attorneys knew that Defendants coerced the false identifications. Because the attorney-client

communications regarding a friendly eyewitness, alternate suspect, and one Plaintiff’s alibi

witness are not the basis of any of Plaintiffs’ claims, the communications are not at issue in this

litigation. As such, there can be no implied waiver and Defendants’ motion should be denied on

this ground as well.

   IV.      Plaintiffs Are not Using their Privilege to Obtain an Unfair Advantage

         Contrary to the Defendants’ assertion, Plaintiffs are not gaining an unfair advantage by

maintaining their attorney client privilege over the limited subjects still at issue from their IAC

claims. As a result, this Court should not find an implied waiver or that Plaintiff is wielding the

privilege as “both sword and shield” to obtain an unfair advantage. Patrick, 154 F. Supp. 3d at 711

(“In practical terms, this means that parties in litigation may not abuse the privilege by asserting

claims the opposing party cannot adequately dispute unless it has access to the privileged

materials.”).

         To be clear, Plaintiffs are not seeking to rely on their communications with their criminal

trial counsel or appellate counsel to prove their fabrication and/or Brady claims. Rather, the basis

of those claims in this civil case (as opposed to an IAC claim) is centered around Defendants’

investigation and interactions with witnesses, including Lisa Velez, as well as the efforts to coerce

and manipulate witnesses into providing false and fabricated evidence that Defendants failed to

disclose.


                                                  9
 Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 10 of 11 PageID #:1705




       Finally, if the Court were to find implied waiver for fairness considerations, which for the

reasons set forth above, it should not, any such waiver should be construed in the most limited

manner possible rather than applying a broad subject matter waiver that is generally applied.

Patrick, 154 F. Supp. 3d at 711-12 (“Courts that have imposed waivers under the fairness principle

have tailored the scope of the waiver to the needs of the opposing party in litigating the claim in

question. Only those documents or portions of documents relating to the claim asserted by the

client should be disclosed.”).

                                        CONCLUSION

       For these reasons, Plaintiffs maintain that their assertion of attorney-client privilege over

their communications with their criminal trial and appellate attorneys on the above subjects is

proper, and this Court should deny Defendants’ motion to the contrary.


                                                     Respectfully submitted,

                                                     JOHN GALVAN, ARTHUR
                                                     ALMENDAREZ, & FRANCISCO
                                                     NAÑEZ

                                                     /s/ Lauren Carbajal
                                                     One of Plaintiffs’ Attorneys

                                                     Jon Loevy
                                                     Roshna Bala Keen
                                                     Heather Lewis Donnell
                                                     Josh Tepfer
                                                     Mark Loevy-Reyes
                                                     Lauren Carbajal
                                                     LOEVY & LOEVY
                                                     311 N. Aberdeen, Floor 3
                                                     Chicago, Illinois 60607
                                                     (312) 243-5900
                                                     Attorneys for Plaintiff John Galvan, Arthur
                                                     Almendarez, and Francisco Nañez




                                                10
 Case: 1:23-cv-03158 Document #: 133 Filed: 07/15/24 Page 11 of 11 PageID #:1706




                              CERTIFICATE OF SERVICE

   I, Lauren Carbajal, an attorney, certify that I caused to be served the above Response on all

counsel of record via CM/ECF on July 15, 2024.

                                                            /s/ Lauren Carbajal
                                                            One of Plaintiffs’ Attorneys




                                               11
